     Fill in this information to identify the case:
     Debtor 1
                            George H Gruber, Jr. aka George H Gruber
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:         MIDDLE                            District of PA
                                                                                                 (State)
     Case Number                1:17-bk-05295-HWV




     Official Form 410S1
     Notice of Mortgage Payment Change                                                                                                                             12/15


     If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
     debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
     as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

     Name of creditor:              BAYVIEW LOAN SERVICING, LLC                                   Court claim no. (if known):       13-1

     Last 4 digits of any number you use to                                                       Date of payment change:
     identify the debtor’s account:                              2798                             Must be at least 21 days after date
                                                                                                  of this notice


                                                                                                  New total payment:
                                                                                                  Principal, interest, and escrow, if any            Forbearance



Part 1:               Escrow Account Payment Adjustment

1.      Will there be a change in the debtor’s escrow account payment?

                  No
                  Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why:


                           Current escrow payment:        $                                     New escrow payment: $


Part 2:              Mortgage Payment Adjustment

2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s variable-rate account?

                  No
                  Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                       Attached, explain why:


                           Current interest rate:                        %                      New interest rate:                             %

                           Current principal and interest payment:                              New principal and interest payment:


Part 3:               Other Payment Change

3.      Will there be a change in the debtor’s mortgage payment for a reason not listed above?

                  No
                  Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                           Reason for change:       Debtor’s request for COVID19 forbearance arrangement (see attached)

                           Current mortgage payment:                                            New mortgage payment:




     Official Form 410S1                                                   Notice of Mortgage Payment Change                                                         page 1

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Part 4:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



X /s/ Mario J. Hanyon, Esquire                                                                  Date     June 19, 2020
   Signature


Print:                Mario J. Hanyon, Esq., Id. No.203993                                       Title   Attorney
                    First Name            Middle Name               Last Name




Company               Phelan Hallinan Diamond & Jones, LLP


Address               1617 JFK Boulevard, Suite 1400


                      Philadelphia, PA 19103

                                                                                                         mario.hanyon@phelanhallinan.
Contact Phone         215-563-7000                                                              Email    com




  Official Form 410S1                                       Notice of Mortgage Payment Change                                           page 2
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                               UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
IN RE:
                                                                  :
GEORGE H GRUBER, JR.                                                  BK. No. 1:17-bk-05295-
                                                                  :
AKA GEORGE H GRUBER                                                   HWV
                                                                  :
                     Debtor
                                                                  :
                                                                      Chapter No. 13
                                                                  :
BAYVIEW LOAN SERVICING, LLC
                                                                  :
                     Movant                                           Hearing Date: TBD
                                                                  :
                v.
                                                                  :
GEORGE H GRUBER, JR.                                                  Hearing Time: TBD
                                                                  :
AKA GEORGE H GRUBER
                                                                  :
STEPANIE J. HORNBAKER (NON-FILING CO-                                 Objection Date: TBD
                                                                  :
DEBTOR)
                                                                  :
                     Respondents

                                         CERTIFICATE OF SERVICE

      I certify under penalty of perjury that on June 19, 2020 I caused to be served the Notice of Mortgage
Payment Change on the parties at the addresses shown below or on the attached list.

The types of service made on the parties were: Electronic Notification and First Class Mail.

Service by Electronic Notification
Charles J DeHart, III (Trustee)
8125 Adams Drive, Suite A
Hummelstown, PA 17036

Johanna Hill Rehkamp
Cunningham, Chernicoff &
Warshawsky, PC
P.O. Box 60457
2320 N. Second Street
Harrisburg, PA 17106

Asst. U.S. Trustee
United States Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101

Service by First Class Mail

George H Gruber, Jr.
aka George H Gruber
7018 Brookdale Drive
Harrisburg, PA 17111

Stephanie J Hornbaker (Non-Filing Co-Debtor)
7018 Brookdale Drive
Harrisburg, PA 17111



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                              /s/ Mario J. Hanyon, Esquire
                              Mario J. Hanyon, Esq., Id. No.203993
                              Phelan Hallinan Diamond & Jones, LLP
                              1617 JFK Boulevard, Suite 1400
                              One Penn Center Plaza
                              Philadelphia, PA 19103
                              Phone Number: 215-563-7000 Ext 31340
                              Fax Number: 215-568-7616
                              Email: mario.hanyon@phelanhallinan.com




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This use of Official Form 410S1 and of the electronic filing method for a Notice of Payment Change is
being used to provide interested parties with notice of a forbearance arrangement, detailed below. This
form is only being used to express a change in the debtor’s payment arrangement within the functionality
available in the Courts’ CMECF systems. The use of this form in no way implies that a change in
payment amount is occurring or has occurred on the account. This filing does not imply that the
provisions of FRBP 3002.1 apply to this filing, nor does the Servicer/Creditor consent to the application
of any provisions of FRBP 3002.1 to this filing.




                              NOTICE OF TEMPORARY FORBEARANCE


Effective Date of Forbearance                              : March 1, 2020
Termination Date of Forbearance                            : August 31, 2020

BAYVIEW LOAN SERVICING, LLC (“SERVICER”) hereby provides notice that due to a recent financial
hardship resulting directly or indirectly from the COVID-19 emergency, the Non-Filing Co-Debtor Stepanie J.
Hornbaker has requested, and SERVICER has provided, a temporary suspension of post-petition mortgage
payment(s) due and owing in the time period referenced above (the “Forbearance Period”). This short-term
relief is consistent with the COVID-19 relief available under the Coronavirus Aid, Relief, and Economic
Security (CARES) Act.

During the Forbearance Period, all terms and provisions of the mortgage note and security instrument, other
than the payment obligations, will remain in full force and effect unless otherwise adjusted by this court or
through a loan modification.

During the Forbearance Period, Debtors and/or Debtors attorney should work with the SERVICER and the
bankruptcy trustee to explore potential remedies to cure any outstanding post-petition mortgage payment(s) at
the termination date of the Forbearance Period. Any outstanding post-petition mortgage payment(s) for which
there is not an agreed cure will remain due and owing as of the termination date of the Forbearance Period.

This Notice does not constitute an amendment or modification to the Debtors plan of reorganization and does
not relieve the Debtor of the responsibility to amend or modify the plan of reorganization to reflect the
forbearance arrangement, if required.




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                     Exhibit “A”




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BOC



                             Bayview Loan Servicing, LLC
                             4425 Ponce de Leon Blvd. 5th Floor
                             Coral Gables, FL 33146



      May 29, 2020




      George H Gruber Jr
      C/O JOHANNA HILL REHKAMP CUNNINGHAM,
      C/O JOHANNA HILL REHKAMP CUNNINGHAM,
      CHERNIFCOFF&WARSHA




                                                                                                                              1
      Chernifcoff&Warsha
      2320 N. SECOND STREET P.O. BOX 60457
      PO Box 60457 2320 N Second St
      HARRISBURG, PA 17106
      Harrisburg PA 17106-0457



                                                                         Property Address: 7018 Brookdale Dr
                                                                                           Harrisburg PA 17111

      Dear Customer:

      IMPORTANT: Your Forbearance Plan has been continued for an additional 90 days.
                 You are not required to make any payments during the continued period.
                 You do not need to call in or take further action to activate or accept this
                 continuation. If you feel this continuation was made in error, please contact
                 us immediately.

      You previously indicated that your ability to make payments has been negatively impacted by the COVID-19
      coronavirus outbreak. Based upon your recent request to stay on the Forbearance Plan or because we have not
      heard from you about a change in your status, we have continued the protections provided under the initial
      Forbearance Plan for an additional 90 days. We are hopeful that your situation will improve during this period
      and we can help you get back on track soon. We are here to help work through your options whatever the
      situation.

      As a reminder, a forbearance is a temporary suspension of your mortgage payments intended to allow you the
      time and flexibility to manage the financial challenges affecting your ability to pay your mortgage.

      Because you are entitled to a forbearance period of up to 180 days, we are continuing with this second 90-day
      increment. In the event your financial situation changes during this second 90-day forbearance period, it is in
      your best interest to work with our agents to review programs available to bring your loan current as soon as
      possible. We also encourage you to pay whatever amount you can afford toward your contractual payments to
      minimize the amount that you will be responsible for at the end of the forbearance period. In the event you have
      not cured the delinquency or entered into an approved program to cure the delinquency prior to the end of this
      second 90-day forbearance period, you may request a further continuation of the forbearance period for an
      additional 180 days, in 90-day increments. You are entitled to a total of 360 days of forbearance, if needed.
      However, you must contact us in order to continue past the first 180 days. You may shorten the
      forbearance period at any time to reduce the amount of payments which are being delayed. Please visit our
      website at www.bayviewloanservicing.com for additional information regarding your forbearance benefits. We
      have also attached a set of Frequently Asked Questions to assist you in understanding your forbearance terms.

      It is important that you know that the total unpaid amount of your monthly mortgage payments are not waived
      under this Forbearance Plan. The payments, which are the subject of the Forbearance Plan have only been
      delayed or reduced, not forgiven; and once the Forbearance Plan is complete, your investor on this, Fannie Mae,
      requires us to inform you that one of the following must occur: 1) the mortgage loan may be brought current
      through a reinstatement; 2) you may apply for another workout option, which may include a repayment plan, loan
      modification, short sale, deed in lieu or others; 3) the mortgage loan is paid in full; or 4) the servicer refers the
      mortgage loan to foreclosure in accordance with applicable law. No one will be required to immediately
      “make-up” the paused payments, all at once or in a “lump sum” Bayview will be here to assist you in

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evaluating the options available to you at the end of the Forbearance Plan period. We also want it to be clear
that this is an optional program that you may choose to not participate in.

It is important to note that no one will be required to make up all of the paused payments at once at the
end of the forbearance.

Forbearance Plan Terms
As part of your Forbearance Plan, we have temporarily suspended your monthly mortgage payment amount of
$1,205.55 through your August, 2020 payment. During this time, you do not need to make any mortgage
payments.

Other terms of your mortgage remain unchanged. As a result of not making any payments during the term of the
Forbearance Plan, you will become delinquent on your mortgage; however, your credit score should not be




                                                                                                                                  0
impacted for the coming months.*

*Credit Reporting: Please note that if your loan is current at the time of entering into the Forbearance Plan, then each month
you are in the Forbearance Plan we will report the status of the account to the credit reporting agencies as current. If,
however, your loan was delinquent prior to entering into the Forbearance Plan, we will maintain that delinquency status
during the period of the forbearance. If you are able to bring the loan current during the Forbearance Plan, we will report the
account as current.

Additional Loss Mitigation Assistance
Please note we offered this continuation of your Forbearance Plan to you without evaluating a complete loss
mitigation application. Other loss mitigation options may be available to you. You have the option to submit a
complete loss mitigation application and receive an evaluation for all loss mitigation options available to you.
This is regardless of whether you accept this continuation of the Forbearance Plan. Not all accounts are eligible
for foreclosure alternatives, and submitting a complete loss mitigation application does not guarantee that you
will be eligible for assistance.

Next Steps…
If your financial situation changes during the term of your Forbearance Plan, please contact us immediately to
reassess your situation and discuss potential alternatives.

Prior to the end of the continued Forbearance Plan term, please contact us so we can review the options that
may be available such as continuation of the Forbearance Plan, a reinstatement, repayment plan or other
alternative to foreclosure, such as a loan modification. No one will be required to immediately “make-up” the
paused payments, all at once or in a “lump sum”.

Helping you through this process is our mission. If you have questions about this process, please call me at
833-656-7472.

Sincerely,

SPECIALIZED CALL REP
SPECIALIZED CALL REP
Bayview Loan Servicing, LLC
Phone Number: 833-656-7472 Monday-Friday 9:00 a.m.-6:00 p.m., ET
Fax Number: 305-646-9943
E-mail: scr@bayviewloanservicing.com


Loan Documents
Servicer is the holder or servicing agent of that certain Promissory Note ("Note") executed by Borrower or
Borrower's predecessor-in-interest on 07-28-14, in the original principal sum of $ 241,455. The Note evidences
a loan ("Loan") to Borrower, and is secured by either a Deed of Trust or Mortgage ("Security Instrument"). The
Security Instrument creates a secured lien on the property owned by the Borrower. The Note, Security
Instrument and all other loan documents shall collectively be referred to as "Loan Documents".




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Total Amount Due
The total past due amount due as of the date of this Forbearance Plan is: $6,280.81 , which consists of all
payments due but unpaid, plus (if applicable) late charges, attorney/trustee fees and costs, to the extent
permitted by the contract and applicable law, property visitation or valuation fees, corporate advances for
property taxes, insurance or other disbursements, and other fees and costs. Please note: No late fees will be
charged for payments on pause under the Forbearance Plan.

Application of Payment Amounts
In the event you make any payments during the Forbearance Plan term: (i) Payments are non-refundable except
as set forth below in Foreclosure Sale/Law Day, and will be held and disbursed in accordance with the current
CFPB rules on application of payments. (ii) Servicer may hold the supplemental monthly payment in an account
until sufficient funds are in the account to pay oldest delinquent monthly payment; (iii) Servicer will not owe any




                                                                                                                                  0
interest on the amounts held in the account. If any money is left in this account at the end of the repayment plan,
those funds will be posted to the account to reduce the principal balance; (iv) Servicer’s acceptance and posting
of payments during the payment plan will not be deemed a waiver of the acceleration of the loan and related
activities, including the right to resume foreclosure if Borrower fails to comply with the terms of the plan, and
shall not constitute a cure of the mortgage default unless such payments are sufficient to completely cure the
default; (v) For income tax purposes, interest payments received will be reported for the calendar year in which
the funds are actually applied as interest payments on the Servicer’s records.

Default Status
As a result of suspending or making reduced payments during the term of this Forbearance Plan, you will
become delinquent: (i) The Security Instrument shall not be reinstated and the Loan shall continue to be in
default under the Loan Documents; (ii) Foreclosure proceedings, if any, shall be suspended while this
Forbearance Plan is in effect; (iii) Please note that we will be reporting the delinquency status and entry into a
Forbearance Plan to credit reporting agencies, as required by applicable law*; and (iv) This Forbearance Plan
supersedes any other billing notices Borrower may receive from Servicer while this plan is in effect.

*Credit Reporting: Please note that if your loan is current at the time of entering into the Forbearance Plan, then each month
you are in the Forbearance Plan we will report the status of the account to the credit reporting agencies as current. If,
however, your loan was delinquent prior to entering into the Forbearance Plan, we will maintain that delinquency status
during the period of the forbearance. If you are able to bring the loan current during the Forbearance Plan, we will report the
account as current.


Previous Discharge in Bankruptcy
In the event that the underlying debt has been discharged as a result of a prior bankruptcy proceeding, Servicer
hereby acknowledges that it is not assessing personal liability for the debt of the Borrower(s) and that its
recourse in collection matters shall be limited to the collateral described in the Security Instrument.


Bankruptcy
If you are in active bankruptcy or bankruptcy discharge under the Bankruptcy Code, please contact your
attorney, trustee or your designated bankruptcy court to discuss the impact of this plan on your bankruptcy. If
you are in active bankruptcy or bankruptcy discharge, this communication does not constitute an attempt to
collect a debt, to reaffirm a debt, or to impose any personal liability on you. Nothing in this letter (including our
use of the words "your," "loan," "mortgage," or "account") means that you're required to repay a debt.

Clerical Errors
In the event that a clerical error in the calculations of this Forbearance Plan results in your loan not being current
at the completion of this plan, you agree that you still owe this money.

No Waiver
Servicer's receipt and application of any funds paid in an amount less than the total Amounts Due shall not
reinstate the Security Instrument nor cure the existing default on the Loan nor does it constitute a satisfaction or
release of any maker or obligor from the obligations under the Loan Documents. Nothing under this plan shall
prevent Servicer from exercising its rights under the Loan Documents and applicable law in the event of any
future default by the Borrower.



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Assignment
This Forbearance Plan is not to be assigned to/or assumed by any successor or assign of the Borrower.

No Other Changes
Except as expressly adjusted by this Forbearance Plan, all of the covenants, agreements, stipulations and
conditions in the Loan Documents remain unmodified and in full force and effect. The Security Instrument
continues to secure on a first and prior lien basis the due and punctual payments of the note, as modified by this
Forbearance Plan. None of the Borrower's obligations or liabilities under the security instrument shall be
diminished or released by any provisions herein. Nor shall this Forbearance Plan in any way impair, diminish, or
affect any of the Borrower's rights or remedies in the Security Instrument, whether such rights or remedies arise
herein or by operation of law. No oral representations have been made by any party hereto which have not been
incorporated into this Forbearance Plan. Any inserted terms, changes or additions to this Forbearance Plan will




                                                                                                                           0
immediately render it null and void. Borrower is encouraged to review this Forbearance Plan with his/her legal
advisor prior to accepting it.

Attorney’s Fees
In the event that any party hereto brings suit for the collection of any damages resulting from, or the injunction of
any action constituting, a breach of any terms or provisions of this Forbearance Plan or the Loan Documents,
then the prevailing party shall be entitled to recover all reasonable court costs and attorneys' fees, at all levels, to
the extent permitted by the contract and applicable law.

Borrower agrees not to make any claim to any attorney fees and costs, to the extent permitted by the contract
and applicable law, against Lender in the event there is a pending foreclosure case/action which is voluntarily
dismissed by Lender as a result of this Forbearance Plan or similar settlement reached between the parties.
Borrower acknowledges that a voluntary dismissal by Lender under such circumstances shall not make the
Borrower the prevailing party in such foreclosure action/case for the purposes of this section.

Payment Information:          Use one of the following methods to send remittance to Bayview Loan Servicing
                              (always include the loan number with your payment):
Online*:                                  www.bayviewloanservicing.com

Pay by Phone*:                            Call 1-800-457-5105 - 24 hours a day, 7 days a week to make payments
                                          with Bayview's automated phone service

Western Union Quick Collect®**:           Code City: BFTG Code State: FL
                                          (Locate the agent nearest you by calling
                                          1-800-525-6313, or visiting www.westernunion.com)

MoneyGram**:                              Find a Money Gram location at www.MoneyGram.com/Locations
                                          or make a payment online at www.MoneyGram.com/PayBills
                                          Receive Code: 13910
                                          1-800-555-3133; 7 days a week, 24 hours a day

Wire**:                                   JP Morgan Chase One Chase Manhattan Plaza, New York, NY 10005
                                          ABA #: 021-000-021 Credit Account: Bayview Loan Servicing, LLC
                                          Account No.: 447450847

Regular Mail:                             Be sure to mail your payments at least 10 days before the due date.

                                          Bayview Loan Servicing, LLC
                                          P.O. Box 740410
                                          Cincinnati, Ohio 45274-0410

Certified Funds Overnight Address: Bayview Loan Servicing, LLC
                                   Attn: Cashiering
                                   4425 Ponce de Leon Blvd., 5th Floor
                                   Coral Gables, FL 33146



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* Fees may be imposed by money transmitter. To the extent a fee is imposed, the fee will be $0.25.
**Fees may be imposed by money transmitter.

Please include the following information on all remittances:
                  Borrower: George H Gruber Jr

                   Property Address: 7018 Brookdale Dr, Harrisburg PA 17111

For your convenience, you may have the payment automatically debited every month from the checking or
savings account of your choice. To participate in Auto Pay, Bayview's automatic debit program, visit
www.bayviewloanservicing.com/autopay.




                                                                                                                        0
Have You Considered a Loan Modification or Other Workout Options?
The investor who owns your loan uses a waterfall ranking method with respect to foreclosure prevention options.
This approval and offer doesn’t necessarily result in a denial for any other foreclosure prevention options.

If your mortgage payments have become unaffordable you may qualify for a modification with affordable and
sustainable monthly payments that would allow you to keep your home.

If you decide you don't want the forbearance offer option, please give us a call to review the other options you
may be eligible for.


Disclaimers and Notices
Housing Counselor Information – If you would like counseling or assistance, for a list of homeownership
counselors or counseling organizations in your area, you can contact the following: U.S. Department of Housing
and Urban Development (HUD), go to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm or call 800-569-4287.

Military Personnel/Servicemembers: If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant
protections and benefits to eligible military service personnel, including protections from foreclosure as well as
interest rate relief. For additional information and to determine eligibility please contact us toll free at
1 (800) 457-5105.

Bayview Loan Servicing, LLC is a debt collector. This letter is an attempt to collect a debt and any information
obtained will be used for that purpose. To the extent your original obligation was discharged or is subject to an
automatic stay of bankruptcy under Title 11 of the United States Code, this notice is for compliance with non-
bankruptcy law and/or informational purposes only. It does not constitute an attempt to collect a debt, to reaffirm
a debt, or to impose any personal liability on you. Nothing in this letter (including our use of the words "your,"
"loan," "mortgage," or "account") means that you're required to repay a debt that's been discharged. If your
original obligation was discharged, any payment you make on the account is voluntary, but we still have rights
under the security instrument, including the right to foreclose on the property. If you are represented by an
attorney, please refer this letter to your attorney and provide us with the attorney's name, address, and
telephone number. Bayview Loan Servicing, LLC., NMLS #2469.

Confirmed SII Disclaimer: If you are a confirmed successor in interest of the account, unless you assume the
mortgage loan obligation under state law, you are not personally liable for the mortgage debt and cannot be
required to use your own assets to pay the mortgage debt.

The following mailing address must be used for all Error Notices & Information Requests: Bayview Loan
Servicing, LLC, Customer Support, 4425 Ponce de Leon Boulevard, 5th Floor, Coral Gables, FL 33146.




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Frequently Asked Questions

Do I need to take further action to accept the continuation of this Forbearance Plan?

Your Forbearance Plan remains in effect; you do not need to call in or take any further action to accept the
continuation of your Forbearance Plan.

For how long is your Forbearance Plan?

Under this Forbearance Plan, you are entitled to forbearance for up to 180 days, which we are providing in 90-
day increments. You are then entitled to an additional 180 days upon request for a total of 360 days on the
Forbearance Plan. We are notifying you that the second 90-day increment is beginning.




                                                                                                                        2
What happens if I need additional time?

In the event you have not cured the delinquency or entered into an approved program to cure the delinquency
prior to the end of this second 90-day forbearance period, you must contact us to discuss your options for ending
the Forbearance Plan or to receive an additional 180-day forbearance period that will also be offered in 90-day
increments. You must contact us before the end of this second 90-day period.

What happens if my financial situation changes while on the Forbearance Plan?

In the event your financial situation changes during this 90-day forbearance period, it is in your best interest to
work with our agents to review programs available to bring your loan current as soon as possible. We also
encourage you to pay whatever amount you can afford toward your contractual payments to minimize the
amount that you will be responsible for at the end of the forbearance period.

What happens after I have been on the Forbearance Plan for 180-days?

At the end of the initial 180 days of forbearance, in the event that your financial situation remains unchanged,
you may request a further continuation of up to an additional 180 days (in 90-day increments) for a total of 360
days. Please visit our website at www.bayviewloanservicing.com for additional information regarding your
forbearance benefits.




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